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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

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(Enter SSS the full name of the Plaintiff in this action)

- VS - Civil Action No.
(To be supplied by the Clerk of the Court)

 

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(Enter above full name of the Defendant(s) in this.action)

INSTRUCTIONS — READ CAREFULLY

1. This complaint must be legibly handwritten or typewritten, signed by the Plaintiff and
subscribed to under penalty of perjury as being true and correct. All questions must be
answered concisely in the proper space on the form. Where more space is needed to answer
any questions, attach a separate sheet.

2. In accordance with Rule 8 of the Federal Rules of Civil Procedure, the complaint should
contain (a) a short and plain statement of the grounds upon which the court’s jurisdiction
depends; (b) a short plain statement of the claim showing that you are entitled to relief; and (c) a
demand for judgment for the relief which you seek.

3. You must provide the full name of each Defendant or Defendants and where they can be
found.

4. You must send the original and one copy of the complaint to the Clerk of the District
court. You must also send one additional copy of the complaint for each Defendant to the Clerk.
Do not send the complaint directly to the Defendants.

5. Upon receipt of a fee of $400.00 (as of May 1, 2013), your complaint will be filed. You
will be responsible for service of a separate Summons and copy of the complaint on each
Defendant. See Rule 4, Federal Rules of Civil Procedure.
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Civil Rights Complaint Page Two

NOTE: If you cannot prepay the $350.00 filing fee, you may request permission to proceed in
forma pauperis in accordance with the procedures set forth below. (If there is more than one
Plaintiff, each Plaintiff must Separately request permission to proceed in forma pauperis).

 

The Prisoner Litigation Reform Act of 1996 (“PLRA’), effective April 26, 1996, has made
significant changes to the in forma pauperis statute, 28 U.S.C. § 1915. The statute no longer
provides for waiver of court filing fees for prisoners who are granted leave to proceed in forma
pauperis. A prisoner who is granted leave to proceed in forma pauperis is not required to pay the
filing fees in advance, but the prisoner is obligated to pay the entire filing fee in installment
payments regardless of the outcome of the proceeding. This obligation to pay the filing fee
continues even if the prisoner is transferred to another prison. Therefore, before submitting this
application to the Clerk of the Court, a prisoner should consider carefully whether he or she
wishes to go forward with the action.

 

 

The PLRA obligates prisoners who are granted in forma pauperis status to pay the entire filing
fee in the following manner, regardless of the outcome of the jitigation. See 28 U.S.C. § 1915(b)
(1) and (2). The agency having custody over the prisoner shall deduct from the prisoner’s
institutional account and forward to the Clerk of the Court (1) an initial partial filing fee equal to
20% of the greater of the average monthly deposits to the prisoner’s account or the average
monthly balance in the prisoner’s account for the six-month period immediately preceding the
filing of the complaint; and (2) payments equal to 20% of the preceding month’s income credited
to the prisoner’s institutional account each month the amount in the account exceeds $10.00,
until the $350.00 filing fee is paid. 28 U.S.C. § 1915(b)(1) and (2). However, a prisoner without
assets or any means in which to pay the initial partial filing fee will not be prohibited from
bringing a civil action. See 28 U.S.C. § 1915(b)(4)..

 

6. Each prisoner Plaintiff who desires to proceed in forma pauperis must submit the follow-
ing to the Clerk of the Court:

a. Acompleted, signed, and dated application to proceed in forma pauperis (attached
hereto); and ,

b. Acertified copy of your prison account statement for the 6-month period
immediately preceding submission of this application, listing the account balance and all
deposits into the account. A prison account statement must be obtained from the appropriate
official of each prison at which you are or were confined during the preceding 6 months.

7. lf your application to proceed in forma pauperis does not conform to these instructions,
you will be notified by letter of the nature of the deficiencies. If these deficiencies are not cured
within 120 days of the date of the letter, the complaint will be deemed withdrawn, the Clerk’s file
will be closed, and no fees will be assessed against you.

 

8. If you are given permission to proceed in forma pauperis, the Clerk will prepare and issue
a copy of the Summons for each Defendant. The copies of Summonses and the copies of the
complaint, which you have submitted, will be forwarded by the Clerk to the United States
Marshal, who is responsible for service. The U.S. Marsha! has U.S.M.-285 forms you must
complete so that the Marshal can locate and serve each Defendant. If the forms are sent to you,
you must complete them in full and return the forms to the U.S. Marshal.

 
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Civil Rights Complaint Page Three

QUESTIONS TO BE ANSWERED

 

1. Jurisdiction is asserted pursuant to (CHECK ONE):
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\/ 42 U.S.C. § 1983 (applies to State prisoners)

Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics,
403 U.S. 388 (1971), and 28 U.S.C. § 1331 (applies to federal prisoners)

If you want to assert jurisdiction under different or additional statutes, {ist them below:

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2. Previously Dismissed Federal Civil Actions or Appeals:

If you are proceeding in forma pauperis, list each action or appeal you have brought in
federal court while you were incarcerated or detained in any facility, that was dismissed as
frivolous or malicious, or for failure to state a claim upon which relief may be granted. Please
note that a prisoner who has on three or more prior occasions, while detained in any facility,
brought an action or appeal in a federal court that was dismissed as frivolous or malicious, or for
failure to state a claim upon which relief may be granted, will be denied in forma pauperis status
uniess that prisoner is under imminent danger or Serious physical injury. 28 U.S.C. § 1915(g).

 

a. Parties to previous lawsuit:

Plaintiff(s): Nong

 

Defendant(s): Np

 

b. Court and Docket Number: Dane ;

c. Grounds for dismissal: ( ) Frivolous; ( ) Malicious; ( ) Failure to state a claim upon
which relief may be granted.

d. Approximate date of filing lawsuit: _ AWW

—_—
e. Approximate date of disposition: NOS

 
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Civil Rights Complaint Page Four
3. Place of Present Confinement: Ee, L Say Stele Prison Relay NY Oe

4. Parties: (In Item (a) below, place your name in the first blank and place your present
address in the second blank. Do the same for additional plaintiffs if any).

a. Name of Plaintiff: sleseph WWellece
Address: Jo dae ek.
abiucer | Alen Genre, OQ 70657
Inmate Number: / Stele [dese
b. First Defendant's Name: Now dersen Vepebem’ of Conrecdun)
Official Position: Les! Qube) { ali
Place of Employment: Whi bls, Qs. L Toles TD O8bd

How is this person involved in the case (i.e., what are you alleging that this person did
or did not do that violated your constitutional rights)?

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. ¢ Second Defendant’s Name: BBs pyran ese Nkecos Wickés
Official Position: Comi Sypon ae

Place of Employment: Whbbless Ree L Tres, NTO eZ |

How is this person involved in the case (i.e., what are you alleging that this person did
or did not do that violated your constitutional rights)?

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Civil Rights Complaint Page Five

d._ if there are more than two defendants, attach a separate sheet. For each defendant,
specify: (1) Name; (2) Official Position; (3) Place of Employment; (4) Involvement.in this case.

SEE BMA AEST
5. 1|previously have sought informal or formal relief from the appropriate administrative
officials regarding the acts complained of in the Statement of Claims (para. 6 below).
he

[ [ ] No

if your answer is “Yes,” briefly describe the steps taken, including how relief was sought,
from whom you sought relief, and the results.

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if your answer is “No,” briefly explain why administrative remedies were not exhausted.

 

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6. Statement of Claims:

State here as briefly as possible the facts of your case. Describe how each defendant
violated your rights, giving dates and places. If you do not specify how each defendant violated
your rights and the date(s) and place of the violations, your complaint may be dismissed. Include
also the names of other persons who are involved, including dates and places. Do not give any
legal arguments or cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Use as much space as you need.
Attach a separate sheet if necessary.

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Civil Rights Complaint Page Six

(Statement of Claim(s), continued):

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7. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

 

 

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Civil Rights Complaint Page Seven

8. Do you request a jury or non-jury? (Check only one)

() Jury Trial wo Kovsuny tia

1 declare under penalty of perjury that the foregoing is true and correct.

\
siened this 2S day of Mess. 20 _U] .

Soseah Weal leu Lyrpl Asabh

 

 

 

 

 

 

(Printed Name of Plaintiff) |. Ganatac of Plaintiff)
Additional Plaintiffs):
ININS NA
(Printed Name of Plaintiff #2) (Signature of Plaintiff #2)
ASS Kane
(Printed Name of Plaintiff #3) (Signature of Plaintiff #3)

 

NOTE: Each Plaintiff named in the Complaint must sign the Complaint here. Add additional lines if there
is more than one Plaintiff. Remember, each Plaintiff must sign the Complaint.
